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                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE SOUTHERN DISTRICT OF GEORGIA
                               BRUNSWICK DIVISION


 SAMUEL WILSON; and PENNY RUSSELL,

                Plaintiffs,                                  CIVIL ACTION NO.: 2:18-cv-113

         v.

 GLYNN COUNTY SCHOOL DISTRICT,

                Defendant.


                                     SCHEDULING ORDER

       Pursuant to Federal Rule of Civil Procedure 16(b) and the Local Rules of this Court, the

Court issues the following scheduling order in this matter. With the issue having been joined on

September 18, 2018, and the parties having conducted their Federal Rule of Civil Procedure

26(f) conference on October 9, 2018, the following deadlines shall apply. These deadlines shall

not be extended except upon a specific showing of good cause and order of the Court. Fed. R.

Civ. P. 16(b)(4). It is the Court’s expectation that the parties will not need an extension of these

deadlines. The showing of good cause necessary to obtain an extension of any of these

deadlines requires a specific showing of what the parties have accomplished to date in discovery,

what remains to be accomplished, and why the parties have not been able to meet the Court’s

deadlines. Bare boilerplate assertions such as “the parties have diligently pursued discovery to

date, but additional time is necessary” will not suffice to establish good cause.

       Additionally, should any party seek an extension of these deadlines or seek the extension

of any other deadline in this case (including an extension of a deadline to respond to a motion or

file any other pleading), the party should first contact all other parties and determine if the other
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parties join in, consent to, or oppose the request for an extension. When filing the motion for an

extension, the party requesting the extension must state in their motion for an extension whether

the other parties join in, consent to, or oppose the request for an extension.


LAST DAY FOR FILING MOTIONS
TO AMEND OR ADD PARTIES                                                               November 19, 2018


WRITTEN DISCOVERY UNDER RULES 33
THROUGH 36 OF THE FEDERAL RULES OF CIVIL
PROCEDURE 1                                                                                January 7, 2019


DISCOVERY DEPOSITIONS OF WITNESSES WHO
HAVE NOT BEEN DESIGNATED AS EXPERTS 2                                                     February 5, 2019


POST-DISCOVERY STATUS REPORT DUE 3                                                      February 15, 2019


POST-FACT DISCOVERY STATUS CONFERENCE                                                   February 28, 2019


LAST DAY FOR FILING ALL CIVIL MOTIONS,
INCLUDING DAUBERT MOTIONS, BUT
EXCLUDING MOTIONS IN LIMINE                                                                 March 7, 2019


DEPOSITIONS OF ALL WITNESSES (WHETHER FACT
OR EXPERT) THAT ARE DE BEN ESSE DEPOSITIONS
AND TAKEN NOT FOR DISCOVERY BUT FOR USE
AT TRIAL                                                                                      April 8, 2019


PRE-TRIAL ORDER DUE                                                                            May 6, 2019

1
    The Court fully expects the parties to have initiated all discovery requests by this deadline.
2
   The parties did not indicate the need for expert witness reports or depositions; thus, the Court omitted
these deadlines.
3
   A Status Report Form is available on the Court’s website www.gasd.uscourts.gov under “forms.” The
parties are directed to use the content and format contained in this Form when reporting to the Court.



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       The Court ORDERS lead counsel for the parties to prepare and file with the Clerk of this

Court a joint consolidated proposed pretrial order by May 6, 2019. If a motion for summary

judgment or other dispositive motion is pending at the time of this deadline, the deadline for

filing the pretrial order is automatically extended. In such event, the parties shall file the

proposed pretrial order within twenty-one (21) days of this Court’s ruling on the motion for

summary judgment or other dispositive motion.

       The pretrial order shall be in the format for Judge Lisa Godbey Wood. The required

form can be located at the Court’s website www.gasd.uscourts.gov under “Forms.” Counsel for

Plaintiff shall have the responsibility to initiate compliance. A party’s failure to comply with

the requirements hereof may result in dismissal of the Complaint, striking of the Answer, or in

other sanctions the Court determines are appropriate. If any party in this case is not represented

by counsel, such party shall be obligated to comply with the requirements hereof in the same

manner as counsel.

       The Court further ORDERS that the Clerk schedule this case for a pretrial conference.

At the time of the pretrial conference, the Court will approve, disapprove, or direct amendment

of the proposed pretrial order. Lead counsel for each party shall attend the pretrial conference.

       The parties shall attempt to resolve evidentiary objections and potential motions in limine

well in advance of the pretrial conference. Thus, the parties shall not file any evidentiary

objections or motions in limine without first seeking to resolve the issues raised in the objection

or the motion in limine with the opposing party. The moving party must state in its evidentiary

objections and motions in limine that it has attempted to resolve the issues raised therein with the

other parties, and it must further state which other parties oppose the relief sought.

       Any evidentiary objections and motions in limine which have not been resolved prior to



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the pretrial conference shall be submitted in writing at least five (5) days prior to the pretrial

conference. The parties shall not file any motions in limine or evidentiary objections after this

deadline without first seeking leave of court. Leave to file will only be granted upon a showing

of extraordinary circumstances. All responses to evidentiary objections and motions in limine

shall be submitted within fourteen (14) days of the filing of the objection or motion.

       Proposed pretrial orders which are not consolidated (proposed jointly) will not be

accepted for filing without the Court’s written permission.

       SO ORDERED, this 9th day of November, 2018.




                                       ____________________________________
                                       BENJAMIN W. CHEESBRO
                                       UNITED STATES MAGISTRATE JUDGE
                                       SOUTHERN DISTRICT OF GEORGIA




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